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                                                                       FILM !117 GMCE
                                      UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF GEORGIA
                                              ROME DIVISION


                                                                         U)THER D. THOMAS, Clork
                                                                         BT. Deputy Clerk
               United States of America,


              i V .                                        CRIMINAL ACTION FILE
                                                           NO . 4 : 99-CR--039-01

               Craig S . Burnes .


                                                   ORDER

                       This case is before the Court on Defendant's Motion to

               Suppress [15 1 .

                       Defendant entered a plea of guilty in this case . The Court

              I thexefoxa DENIES AS MOOT AND WITHOUT PREJUDICE Defendant's Motion

               to Suppress [15] .                          ~

                       IT IS SO ORDERED, this the 25-day of July, 2005 .




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Sao nA
(Rev. 8/82)
